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JS 44 (Rev. 11/15)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
                                                                                                            AGS, LLC
    Scientific Games Corporation, Bally Technologies, Inc. and Bally
    Gaming, Inc.
      (b)   County of Residence of First Listed Plaintiff                                                     County of Residence of First Listed Defendant
                                    (EXCEPT IN U.S. PLAINTIFF CASES)                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

      (c)   Attorneys (Firm Name, Address, and Telephone Number.)                                              Attorneys (If Known)
    James J. Pasanelli, Esq., Pisanelli Bice PLLC, 400 South 7th Street,                                    Timothy R. O'Reilly, Esq., John F. O'Reilly, Esq., Cher L. Shaine,
    Suite 300, Las Vegas, NV 89101, Telephone: (702) 214-2100                                               Esq., O'Reilly Law Group, LLC, 325 South Maryland Parkway, Las
                                                                                                            Vegas, NV 89101, Telephone: (702) 382-2500

II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                and Otte Box for Defendant)
0 1 U.S. Government                     0 3 Federal Question                                                                       PTF DEF                                          PTF DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         0 1  I  I Incorporated or Principal Place         0 4      04
                                                                                                                                                 of Business In This State

0 2 U.S. Government                         4 Diversity                                              Citizen of Another State          X2     0 2 Incorporated and Principal Place       n 5      05
         Defendant                               (Indicate Citizenship of Parties in Item III)                                                         of Business In Another State

                                                                                                     Citizen or Subject of a           0 3    0 3 Foreign Nation                         06 06
                                                                                                       Foreign Country
    IV. NATURE OF SUIT (Place an "X" in One Box Only)
I            CONTRACT                                             TORTS                                 FORFEITURE/PENALTY                      BANKRUPTCY                     OTHER STATUTES              I
    0 110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY           0 625 Drug Related Seizure          0 422 Appeal 28 USC 158          0 375 False Claims Act
    0 120 Marine                       0   310 Airplane                 0 365 Personal Injury -             of Property 21 USC 881       0 423 Withdrawal                 0 376 Qui Tarn (31 USC
    0 130 Miller Act                   0   315 Airplane Product                Product Liability     0 690 Other                                28 USC 157                       3729(a))
    0 140 Negotiable Instrument                 Liability               0 367 Health Care/                                                                                0 400 State Reapportionment
    0 150 Recovery of Overpayment      0   320 Assault, Libel &                Pharmaceutical                                               PROPERTY RIGHTS               a 410 Antitrust
           & Enforcement of Judgment            Slander                        Personal Injury                                           0 820 Copyrights                 0 430 Banks and Banking
    0 151 Medicare Act                 0   330 Federal Employers'              Product Liability                                         0 830 Patent                     0 450 Commerce
    0 152 Recovery of Defaulted                 Liability               0 368 Asbestos Personal                                          0 840 Trademark                  0 460 Deportation
           Student Loans               0   340 Marine                           Injury Product                                                                            0 470 Racketeer Influenced and
           (Excludes Veterans)         0   345 Marine Product                  Liability                         LABOR                      SOCIAL SECURITY                     Corrupt Organizations
    0 153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY          0 710 Fair Labor Standards          0 861 HIA (1395ff)               0 480 Consumer Credit
           of Veteran's Benefits       0   350 Motor Vehicle            0 370 Other Fraud                   Act                          0 862 Black Lung (923)           0 490 Cable/Sat TV
    0 160 Stockholders' Suits          0   355 Motor Vehicle            0 371 Truth in Lending       0 720 Labor/Management              0 863 DIWC/DIWW (405(g))         0 850 Securities/Commodities/
    0 190 Other Contract                       Product Liability        0 380 Other Personal                Relations                    0 864 SSID Title XVI                    Exchange
    0 195 Contract Product Liability   0   360 Other Personal                  Property Damage       0 740 Railway Labor Act             0 865 RSI (405(g))               X 890 Other Statutory Actions
    0 196 Franchise                            Injury                   0 385 Property Damage        0 751 Family and Medical                                             0 891 Agricultural Acts
                                       0   362 Personal Injury -               Product Liability            Leave Act                                                     0 893 Environmental Matters
                                               Medical Malpractice                                   0 790 Other Labor Litigation                                         0 895 Freedom of Information
I          REAL PROPERTY                     CIVIL RIGHTS                PRISONER PETITIONS          0 791 Employee Retirement              FEDERAL TAX SUITS                    Act
    0 210 Land Condeinnation           0   440 Other Civil Rights          Habeas Corpus:                  Income Security Act           0 870 Taxes (U.S. Plaintiff      0 896 Arbitration
    0 220 Foreclosure                  0   441 Voting                   0 463 Alien Detainee                                                    or Defendant)             0 899 Administrative Procedure
    0 230 Rent Lease & Ejectment       0   442 Employment               0 510 Motions to Vacate                                          0 871 IRS—Third Party                  Act/Review or Appeal of
    0 240 Torts to Land                0   443 Housing/                       Sentence                                                          26 USC 7609                     Agency Decision
    0 245 Tort Product Liability               Accommodations           0 530 General                                                                                     0 950 Constitutionality of
    0 290 All Other Real Property      0   445 Amer. w/Disabilities -   0 535 Death Penalty                 IMMIGRATION                                                         State Statutes
                                               Employment                  Other:                    0 462 Naturalization Application
                                       0   446 Amer. w/Disabilities -   0 540 Mandamus & Other       0 465 Other Immigration
                                               Other                    0 550 Civil Rights                  Actions
                                       0   448 Education                0 555 Prison Condition
                                                                        0 560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement

    V. ORIGIN (Place an "X" it One Box Only)
Xi Original                0 2 Removed from                 0 3 Remanded from                    0 4 Reinstated or 0 5 Transferred from               0 6 Multidistrict
    Proceeding                  State Court                       Appellate Court                     Reopened           Another District                  Litigation
                                                                                                                         (specify)
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             28 U.S.C. 1332
    VI. CAUSE OF ACTION                     Brief description of cause:
                                             Discovery Dispute; Protection Order; Attorneys' Fees and Costs
    VII. REQUESTED IN     El CHECK IF THIS IS A CLASS ACTION        DEMAND $                                                                       CHECK YES only if demanded in complaint:
         COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                75,000.00                                                                    JURY DEMAND:               0 Yes         No

    VIII. RELATED CASE(S)
                            (See instructions):
          IF ANY                                JUDGE Matthew F. Kennelly                                                                    DOCKET NUMBER             1:15-ov-03702
    DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
    02/15/2017                                                           /s/ Timothy R. O'Reilly
    FOR OFFICE USE ONLY

      RECEIPT 9                     AMOUNT                                     APPLYING IFP                                    JUDGE                         MAG. JUDGE
